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                                                               7   SHKOLNIK & ASSOCIATES, LLP; NAPOLI
                                                                   BERN RIPKA SHKOLNIK, LLP; NAPOLI BERN
                                                               8   RIPKA, LLP; NAPOLI KAISER BERN, LLP
                                                               9                            UNITED STATES DISTRICT COURT
Ropers Majeski Kohn & Bentley




                                                              10                           CENTRAL DISTRICT OF CALIFORNIA
                                                              11                                    WESTERN DIVISION
                                A Professional Corporation




                                                              12
                                       Los Angeles




                                                              13   MARC I. WILLICK, an individual,             Case No. CV 15-00652-AB (Ex)
                                                              14                      Plaintiff,               NOTICE OF MOTION AND
                                                                                                               MOTION FOR AN ORDER
                                                              15   v.                                          VACATING ARBITRATION
                                                                                                               AWARD AGAINST DEFENDANT
                                                              16   NAPOLI BERN RIPKA &                         NAPOLI BERN RIPKA &
                                                                   ASSOCIATES, LLP, a purported                ASSOCIATES, LLP;
                                                              17   limited liability partnership; NAPOLI       MEMORANDUM OF POINTS AND
                                                                   BERN RIPKA SHKOLNIK &                       AUTHORITIES
                                                              18   ASSOCIATES, LLP, a purported
                                                                   limited liability partnership; NAPOLI       [Filed concurrently with the
                                                              19   BERN RIPKA SHKOLNIK, LLP, a                 Declarations of Tahereh Mahmoudian
                                                                   purported limited liability partnership;    and Salvatore Badala, and Proposed
                                                              20   NAPOLI BERN RIPKA, LLP, a                   Order]
                                                                   purported limited liability partnership;
                                                              21   NAPOLI KAISER BERN, LLP, a
                                                                   purported limited liability partnership;
                                                              22   MARC J. BERN, an individual; PAUL            Date:    October 19, 2018
                                                                   J. NAPOLI, an individual; and DOES 1         Time:    10:00 a.m.
                                                              23   through 50,                                  Crtrm:   7B
                                                                                                                Judge:   Hon. André Birotte, Jr.
                                                              24                      Defendants.
                                                              25
                                                              26   ///
                                                              27   ///
                                                              28   ///
                                                                                                                                   MOTION FOR ORDER VACATING
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                                                               1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                               2            PLEASE TAKE NOTICE that on October 19, 2018, at 10:00 a.m., or as
                                                               3   soon thereafter as the matter may be heard, in Courtroom 7B of the above-entitled
                                                               4   court, located at 350 West First Street, Los Angeles, California 90012, defendant
                                                               5   Napoli Bern Ripka & Associates, LLP (“NBRA”) will and hereby does move for an
                                                               6   order vacating an August 3, 2018 arbitration award rendered in the arbitration
                                                               7   proceeding relating to the above-captioned action. This motion is made pursuant to
                                                               8   the Federal Arbitration Act section 10 (9 U.S.C. § 10) on the ground that the
                                                               9   arbitrator exceeded his powers in rendering a default arbitration award against
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                                                              10   NBRA and on the related ground that, after rendering a default against NBRA, the
                                                              11   arbitrator refused to hear or consider any evidence from NBRA.
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                                                              12            This motion is made following a conference of counsel pursuant to Local
                                       Los Angeles




                                                              13   Rule 7-3 which took place on August 28, 2018.
                                                              14            This motion is based on this Notice of Motion and the attached Memorandum
                                                              15   of Points and Authorities, the accompanying Declaration of Tahereh Mahmoudian
                                                              16   and Declaration of Salvatore Badala, the pleadings and papers on file herein, and on
                                                              17   such other evidence as may be presented at the time of the hearing of the motion.
                                                              18
                                                              19   Dated: September 12, 2018            ROPERS, MAJESKI, KOHN & BENTLEY
                                                              20
                                                              21                                        By: /s/ Stephen J. Erigero
                                                                                                           STEPHEN J. ERIGERO
                                                              22                                           TAHEREH MAHMOUDIAN
                                                                                                           Attorneys for Defendants
                                                              23                                           NAPOLI BERN RIPKA & ASSOCIATES,
                                                                                                           LLP; NAPOLI BERN RIPKA SHKOLNIK
                                                              24                                           & ASSOCIATES, LLP; NAPOLI BERN
                                                                                                           RIPKA SHKOLNIK, LLP; NAPOLI
                                                              25                                           BERN RIPKA, LLP; NAPOLI KAISER
                                                                                                           BERN, LLP
                                                              26
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                                                              28
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                                       Los Angeles




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                                                               1                      MEMORANDUM OF POINTS AND AUTHORITIES
                                                               2   I.       INTRODUCTION
                                                               3            This is an action between plaintiff, a California attorney, and defendant
                                                               4   Napoli Bern Ripka & Associates, LLP (“NBRA”), a New York law firm, and
                                                               5   several other entity and individual defendants. The case was commenced in the Los
                                                               6   Angeles County Superior Court and removed to the District Court. The District
                                                               7   Court ordered the matter to arbitration pursuant to an arbitration provision in a
                                                               8   contract between plaintiff and NBRA.
                                                               9            Because of a refusal by the insurer, Evanston Insurance Co., to pay a
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                                                              10   $100,000 retainer fee to an accountant to perform an accounting, the arbitrator
                                                              11   entered NBRA’s default in the arbitration proceeding.1 The arbitrator then held a
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                                                              12   “prove up” hearing at which NBRA was not permitted to introduce evidence, cross-
                                       Los Angeles




                                                              13   examine plaintiff, or otherwise challenge plaintiff’s submissions. On or about
                                                              14   August 3, 2018, the arbitrator issued a completely irrational default arbitration
                                                              15   award against NBRA in the amount of approximately $4 million. Such an award
                                                              16   would mean that NBRA collected approximately $40,000,000 in attorneys’ fees on
                                                              17   the cases in dispute and settlements totaled approximately $120,000,000. Such
                                                              18   numbers are completely irrational and no facts support such an award.
                                                              19            By its present motion, NBRA seeks an order vacating the arbitration award.
                                                              20   NBRA’s motion should be granted because the arbitrator exceeded his powers in
                                                              21   issuing the arbitration award predicated on his entry of a default against NBRA.
                                                              22   II.      BACKGROUND
                                                              23            A.        The Proceedings Resulting in the Default Arbitration Award
                                                                                      Against NBRA
                                                              24
                                                              25            On December 12, 2014, plaintiff Marc I. Willick (“Plaintiff”) filed a
                                                              26   complaint in the Los Angeles County Superior Court against the following
                                                              27
                                                                            1
                                                                                Declaration of Salvatore Badala, Exs. H-J.
                                                              28
                                                                                                                                       MOTION FOR ORDER VACATING
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                                                               1   defendants:
                                                               2                  Napoli Bern Ripka & Associates, LLP (“NBRA”);2
                                                               3                  Napoli Bern Ripka Shkolnik & Associates, LLP;
                                                               4                  Napoli Bern Ripka Shkolnik, LLP;3
                                                               5                  Napoli Bern Ripka, LLP;
                                                               6                  Napoli Kaiser Bern, LLP;
                                                               7                  Marc J. Bern (“Bern”); and
                                                               8                  Paul J. Napoli (“Napoli”).4
                                                               9            Plaintiff’s complaint alleges causes of action against each of the Defendants
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                                                              10   for (1) accounting; (2) breach of contract; (3) fraud; (4) violation of Business &
                                                              11   Professions Code § 17200; and (5) negligent misrepresentation. Plaintiff’s claims
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                                                              12   arise from the essential contention that defendant Napoli Bern Ripka & Associates,
                                       Los Angeles




                                                              13
                                                              14            2
                                                                            NBRA is the only contracting entity with Plaintiff. The other entities and
                                                                   individuals did not contract with Plaintiff, and therefore, they are not responsible
                                                              15   for the promises made by NBRA. (See, e.g., Union Ins. Co. v. Central Trust Co.,
                                                                   157 N.Y. 633 (1899) [stating that “[e]ach party to the submission agreement, which
                                                              16   was quadripartite in character, was bound only to the extent of the promises,
                                                                   express or implied, made by them respectively.”]; Klauber Bros., Inc. v. Russell-
                                                              17   Newman, Inc., No. 11 Civ. 4985 PGG, 2013 WL 1245456 (S.D.N.Y. Mar. 26,
                                                                   2013) [same]; Tobin v. Gluck, 137 F. Supp. 3d 278 (E.D.N.Y. 2015).)
                                                              18
                                                                            3
                                                                                This entity did not even handle any asbestos matters.
                                                              19
                                                                            4
                                                                           Pursuant to New York Partnership Law section 26, Messrs. Bern and
                                                              20   Napoli cannot be held personally liable for any of NBRA’s payment obligations.
                                                                   As relevant here, section 26(b) provides:
                                                              21
                                                                                      [N]o partner of a partnership which is a registered limited
                                                              22                      liability partnership is liable or accountable, directly or
                                                                                      indirectly (including by way of indemnification,
                                                              23                      contribution or otherwise), for any debts, obligations or
                                                                                      liabilities of, or chargeable to, the registered limited
                                                              24                      liability partnership . . . solely by reason of being such a
                                                                                      partner . . . .
                                                              25
                                                                   Consistent with the purpose of Partnership Law section 26(b), courts have
                                                              26   repeatedly dismissed breach of contract claims against individual partners of
                                                                   limited liability partnerships. (See, e.g., 1301 Properties Owner LP v. Abelson, 51
                                                              27   Misc. 3d 1207(A) (N.Y. Sup. 2016) [dismissing contract claims against individual
                                                                   partners of limited liability partnership].)
                                                              28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                               1   LLP (“NBRA”) breached its obligations under two contracts that it entered into
                                                               2   with Plaintiff. These two contracts, which were attached as exhibits to the
                                                               3   complaint, are a Co-Counsel Agreement for California Asbestos Personal Injury
                                                               4   Claims dated March 17, 2011 and an Employment Agreement dated May 20, 2011.5
                                                               5            On January 28, 2015, Defendants removed the case to federal court.6 The
                                                               6   Entity Defendants subsequently filed a motion to compel arbitration of this matter
                                                               7   pursuant to an arbitration clause in the May 2011 contract. The arbitration clause
                                                               8   provides that:
                                                               9                      Any and all disputes arising from or under this Agreement
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                                                              10                      or breach thereof including termination and/or
                                                              11                      discrimination, shall be settled by arbitration in
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                                                              12                      accordance with the rules of the American Arbitration
                                       Los Angeles




                                                              13                      Association then in effect. Judgment upon the award
                                                              14                      rendered may be entered in any Court having jurisdiction
                                                              15                      thereof. Both parties waive any and all rights to bring a
                                                              16                      case in Court and waive any and all right to a jury trial.
                                                              17                      The attorney has no right to assign any rights, title or
                                                              18                      interest to arbitrate this agreement to any other person,
                                                              19                      corporation or other party. Any and all arbitration
                                                              20                      benefits herein are limited to the attorney and law firm.
                                                              21   (5/2011 Contract, ¶ 5.1.)7 The motion to compel arbitration was granted by the
                                                              22   District Court on August 20, 2015.8
                                                              23
                                                                            5
                                                                           A copy of the complaint is included as Exhibit A to the Notice of Removal
                                                              24   filed on January 28, 2015. (Dkt. No. 1-1, pp. 2-27.)
                                                              25            6
                                                                          Defendants’ Notice to Federal Court of Removal of Civil Action from State
                                                                   Court. (Dkt. No. 1, pp. 1-10.)
                                                              26
                                                                            7
                                                                                Declaration of Tahereh Mahmoudian (“Mahmoudian Decl.”) ¶ 3, Ex. A.
                                                              27
                                                                            8
                                                                                Order Granting Defendants’ Petition to Compel Arbitration. (Dkt. No. 39.)
                                                              28
                                                                                                                                            MOTION FOR ORDER VACATING
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                                                               1            The parties selected the Honorable Richard A. Stone (Ret.) to serve as the
                                                               2   arbitrator in connection with this matter (the “Arbitrator”).9 On or about January
                                                               3   27, 2018, the Arbitrator issued an Interim Award Re Accounting (“Interim
                                                               4   Award”). By the Interim Award, the Arbitrator ruled in favor of Plaintiff on his
                                                               5   first cause of action for an accounting, but only with respect to defendant NBRA.
                                                               6   The Interim Award appointed Bjorn L. Malmlund of Ernst & Young LLP as the
                                                               7   accountant to conduct the accounting (the “Accountant”). The Interim Award also
                                                               8   directed NBRA to bear the costs of the accounting, which included paying a
                                                               9   $100,000 retainer fee to the Accountant.10
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                                                              10            After the Interim Award was finalized, issues arose with respect to the scope
                                                              11   of the Accountant’s engagement. Notably, there were serious questions concerning
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                                                              12   what information regarding its clients NBRA, as a law firm, could properly divulge
                                       Los Angeles




                                                              13   to the Accountant. The Accountant’s engagement agreement required NBRA to
                                                              14   disclose privileged communications with its clients and privileged personal data
                                                              15   concerning its clients to the Accountant. NBRA attempted to address these issues
                                                              16   by making suggested revisions to the Accountant’s engagement agreement.11 As
                                                              17   mentioned above, because the insurer, Evanston Insurance Co. (“Evanston”),
                                                              18   refused to pay a $100,000 retainer fee to the Accountant, the accounting was not
                                                              19   performed. Evanston was solely at fault for this issue, not NBRA.
                                                              20            Apparently because of frustration with Evanston’s inaction with regard to
                                                              21   paying the Accountant’s retainer, on about March 9, 2018, Plaintiff filed a Motion
                                                              22   for Terminating and Monetary Sanctions against NBRA in the arbitration
                                                              23   proceeding (“Motion for Sanctions”). Plaintiff’s Motion for Sanctions sought an
                                                              24   interim order or award imposing monetary sanctions against NBRA, striking
                                                              25
                                                                            9
                                                                                Mahmoudian Decl. ¶ 4.
                                                              26
                                                                            10
                                                                                 Mahmoudian Decl. ¶ 5.
                                                              27
                                                                            11
                                                                                 Mahmoudian Decl. ¶ 6.
                                                              28
                                                                                                                                      MOTION FOR ORDER VACATING
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                                                              1   NBRA’s answer to Plaintiff’s complaint, entering default against NBRA, and
                                                              2   providing for a “prove-up” hearing.12
                                                              3            The Arbitrator issued a tentative ruling granting the Motion for Sanctions.
                                                              4   Thereafter, on May 1, 2018, the Arbitrator conducted a hearing on the Motion for
                                                              5   Sanctions. At the hearing, the parties requested that the Arbitrator refrain from
                                                              6   issuing a final order or award on the motion until after they attempted to settle the
                                                              7   case at a mediation. On June 14, 2018, the parties participated in a mediation but
                                                              8   were not able to resolve the case.13
                                                              9            On June 15, 2018, the day after the mediation, counsel for NBRA informed
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                                                             10   the Arbitrator that “a payment of $110,000 to Ernst & Young ($100,000 retainer fee
                                                             11   and $10,000 to expedite the process) will be completed in the next few days.” On
                                A Professional Corporation




                                                             12   June 20, 2018, counsel for NBRA informed the Arbitrator that Ernest & Young had
                                       Los Angeles




                                                             13   received the $110,000 payment.14
                                                             14            Although the Accountant’s retainer fee had been paid, the Arbitrator
                                                             15   conducted a default prove-up hearing on June 30, 2018, only about three and a half
                                                             16   months after Plaintiff’s motion was filed.15 At the time of the prove-up hearing,
                                                             17   counsel for NBRA requested, but was denied, the opportunity to put on any
                                                             18   evidence or to challenge the evidence or submissions made by Plaintiff. Illustrative
                                                             19   of this is the following request made by NBRA’s attorney at the prove-up hearing:
                                                             20                      I would urge the [Arbitrator] – certainly the [Arbitrator]
                                                             21                      could strike the affirmative defenses or something a little
                                                             22                      less drastic such there would be damages, a prove-up that
                                                             23                      would allow [NBRA] to at least raise some evidence on
                                                             24
                                                                           12
                                                                                Mahmoudian Decl. ¶ 7.
                                                             25
                                                                           13
                                                                                Mahmoudian Decl. ¶ 8.
                                                             26
                                                                           14
                                                                                Mahmoudian Decl. ¶ 9.
                                                             27
                                                                           15
                                                                                Mahmoudian Decl. ¶ 10.
                                                             28
                                                                                                                                          MOTION FOR ORDER VACATING
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                                                              1                      damages, or at least cross-examine the evidence that’s
                                                              2                      proffered today….
                                                              3                            I would ask the [Arbitrator] to, in gathering all the
                                                              4                      evidence today, to perhaps take under submission to
                                                              5                      perhaps allow the defense to submit some contrary
                                                              6                      evidence on damages or at least critique some of the
                                                              7                      proffered evidence specifically. So I would ask for that
                                                              8                      opportunity. The [Arbitrator] can always refuse to
                                                              9                      consider, determine that that would be inappropriate, but I
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                                                             10                      would ask for that opportunity prior to the issuance of a
                                                             11                      judgment, based on the tentative ruling [granting the
                                A Professional Corporation




                                                             12                      Motion for Sanctions].
                                       Los Angeles




                                                             13   (6/30/18 Transcript, pp. 10:23-11:20.)16 After discussing NBRA’s attorney’s
                                                             14   request, the Arbitrator concluded:
                                                             15                      So my tentative will stand. With regard to the
                                                             16                      presentation of evidence, notwithstanding, I’m sure I
                                                             17                      would love to hear from [NBRA’s attorney], and I have
                                                             18                      no doubt it would be interesting reading. The party in
                                                             19                      default isn’t entitled to be heard. They’ve had years to be
                                                             20                      heard, and the firm has chosen not to be. So under the
                                                             21                      circumstances, I’m not now at this point in time going to
                                                             22                      allow them the benefit of something they could have
                                                             23                      taken full advantage over the course of the last few
                                                             24                      years…. That being said, I did read through [Plaintiff’s
                                                             25                      attorney’s] stuff….
                                                             26
                                                             27
                                                                           16
                                                                                Mahmoudian Decl. ¶¶ 10 & 11, Ex. B.
                                                             28
                                                                                                                                            MOTION FOR ORDER VACATING
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                                                              1   (6/30/18 Transcript, p. 19:4-15.)17 Plaintiff’s attorney “stuff” that the Arbitrator
                                                              2   read was apparently a declaration of Plaintiff and other papers that Plaintiff’s
                                                              3   attorney submitted to the arbitrator a few days before the prove-up hearing. There
                                                              4   was no testimony of Plaintiff or any other witnesses at the time of the hearing.18
                                                              5   Significantly, moreover, there were no motions to compel discovery responses from
                                                              6   NBRA calendared for hearing when the Arbitrator entered a default against NBRA
                                                              7   and conducted the prove-up hearing.19 Also, the Arbitrator was incorrect that
                                                              8   NBRA had years to be heard. Mr. Napoli was diagnosed with Acute Leukemia in
                                                              9   May 2014, and his recovery still continues today. In addition, during the time of
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                                                             10   Mr. Napoli’s diagnosis, he was engaged in a partnership dispute with Mr. Bern,
                                                             11   which still continues to date. Unfortunately, these events could not be controlled
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                                                             12   and have impacted these proceedings.
                                       Los Angeles




                                                             13            On or about July 3, 2018, the Arbitrator issued an “Order Re: Claimant’s
                                                             14   Motion for Terminating and Monetary Sanctions” granting Plaintiff’s Motion for
                                                             15   Sanctions against NBRA. This Order concludes:
                                                             16                      Napoli Ripka Bern & Associates, LLP’s answer is
                                                             17                      stricken, and its default is entered for [the Accounting and
                                                             18                      Breach of Contract] causes of action.
                                                             19                            A prove-up hearing on the Accounting and Breach
                                                             20                      of Contract causes of action was held on June 30, 2018, at
                                                             21                      9:00 a.m., at the Arbitrator’s office. At that time, Plaintiff
                                                             22                      presented his evidence and argument to prove up all of his
                                                             23                      claims against Napoli Ripka Bern & Associates, LLP.
                                                             24                      The prove up paperwork has been submitted to the
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                                                                                Mahmoudian Decl. ¶ 10, Ex. B.
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                                                                                Mahmoudian Decl. ¶¶ 10 & 11, Ex. B.
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                                                                           19
                                                                                Mahmoudian Decl. ¶ 13.
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1                      Arbitrator and will be the subject of a later ruling and
                                                              2                      award….
                                                              3   (Arbitrator’s 7/3/18 Order, p. 17:1-7.)20
                                                              4            B.        The Default Arbitration Award Against NBRA
                                                              5            On or about August 3, 2018, the Arbitrator issued a “Final Award on
                                                              6   Plaintiff’s Claims Against Defendant Napoli Bern Ripka & Associates, LLP” (the
                                                              7   “Arbitration Award”). The Arbitration Award provides, in part:
                                                              8                      A.    With respect to Willick’s Complaint filed on
                                                              9                      December 12, 2014 and [NBRA’s] Answer to the
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                                                             10                      Complaint, [NBRA’s] right to contest Willick’s First
                                                             11                      Cause of Action for an Accounting and/or Willick’s
                                A Professional Corporation




                                                             12                      Second Cause of Action for Breach of Contract is hereby
                                       Los Angeles




                                                             13                      terminated, its Answer to those Causes of Action is
                                                             14                      hereby stricken, and those Causes of Action are hereby
                                                             15                      decided in favor of Willick and against [NBRA] by way
                                                             16                      of default;
                                                             17                      B.    On Willick’s First Cause of Action, the Arbitrator
                                                             18                      finds that Willick is entitled to $3,355,260.00 for his share
                                                             19                      of the fees received by [NBRA] on cases referred to
                                                             20                      [NBRA] by Willick’s Referral Sources.
                                                             21                      C.    On Willick’s Second Cause of Action, Willick is
                                                             22                      entitled to damages against [NBRA] in the amount of
                                                             23                      3,355,260.00 and to prejudgment interest in the amount of
                                                             24                      $724,198.53, for a total award of $4,079,458.53.
                                                             25                      D.    Willick is also awarded monetary sanctions against
                                                             26                      [NBRA] in the amount of $44,198.00.
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                                                                                Mahmoudian Decl. ¶ 12, Ex. C.
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1                      E.    Based on the waivers referenced in paragraph 22
                                                              2                      above, the relief granted in paragraphs A-D above is and
                                                              3                      will be the only relief granted to Willick against [NBRA].
                                                              4                      However, nothing contained in this Final Award shall
                                                              5                      impair Willick’s rights with respect to, or any of his
                                                              6                      claims against, any Defendant other than [NBRA].
                                                              7                      Therefore, the Arbitrator reserves jurisdiction over
                                                              8                      Willick’s claims against all Defendants other than
                                                              9                      [NBRA].
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                                                             10   (Arbitration Award, pp. 5:25-6:15.)21 Such an award would mean that NBRA
                                                             11   collected approximately $40,000,000 in attorneys’ fees on the cases in dispute and
                                A Professional Corporation




                                                             12   settlements totaled approximately $120,000,000. Such numbers are completely
                                       Los Angeles




                                                             13   irrational and no facts support such an award.
                                                             14            C.        Plaintiff’s Pending Motion in the Arbitration Proceeding to
                                                                                     Amend the Arbitration Award
                                                             15
                                                             16            The Arbitration Award only concerned Plaintiff’s claims against NBRA, one
                                                             17   of the seven original Defendants in this matter. The arbitration with respect to the
                                                             18   other six Defendants is still pending. On or about August 10, 2018, Plaintiff served
                                                             19   a motion in connection with the pending arbitration proceeding requesting that the
                                                             20   Arbitrator amend the Arbitration Award with respect to NBRA to add the other six
                                                             21   Defendants as alter egos of NBRA. As of the time of this writing, Plaintiff’s
                                                             22   motion to amend the Arbitration Award is scheduled to be heard by the Arbitrator
                                                             23   on September 21, 2018.22
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                                                                                Mahmoudian Decl. ¶ 14, Ex. D.
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                                                                           22
                                                                                Mahmoudian Decl. ¶ 15.
                                                             28
                                                                                                                                            MOTION FOR ORDER VACATING
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                                                              1            D.        Plaintiff’s Pending Motion in the District Court to Confirm the
                                                                                     Arbitration Award
                                                              2
                                                              3            On August 17, 2018, a week after filing its motion to Amend the Arbitration
                                                              4   Award in the arbitration proceeding, Plaintiff filed a motion in the District Court
                                                              5   seeking to have the Court confirm the Arbitration Award pursuant to section 9 of
                                                              6   the Federal Arbitration Act (“FAA”) (9 U.S.C. § 9).23 NBRA has opposed
                                                              7   Plaintiff’s motion to confirm the Arbitration Award.24 As of the time of this
                                                              8   writing, Plaintiff’s motion to confirm the Arbitration Award is scheduled to be
                                                              9   heard by the Court on September 14, 2018.
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                                                             10            E.        NBRA’S Present Motion to Vacate the Arbitration Award
                                                             11            NBRA is now bringing the present motion to vacate the Arbitration Award
                                A Professional Corporation




                                                             12   pursuant to section 10 of the FAA (9 U.S.C. § 10). NBRA’s motion should be
                                       Los Angeles




                                                             13   granted and the Arbitration Award vacated because the Arbitrator exceeded his
                                                             14   powers in issuing a default award against NBRA.
                                                             15   III.     THE ARBITRATION AWARD SHOULD BE VACATED BECAUSE
                                                                           THE ARBITRATOR EXCEEDED HIS POWERS IN RENDERING A
                                                             16            DEFAULT ARBITRATION AWARD
                                                             17            Sections 10 and 11 of the Federal Arbitration Act (“FAA”) state the grounds
                                                             18   on which the Court may vacate, modify, or correct an arbitration award. Pertinent
                                                             19   to the present circumstances, Section 10 provides:
                                                             20                      (a) In any of the following cases the United States court
                                                             21                      … may make an order vacating the award upon the
                                                             22                      application of any party to the arbitration– …
                                                             23                      (4) where the arbitrators exceeded their powers, or so
                                                             24                      imperfectly executed them that a mutual, final, and
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                                                                           23
                                                                                Dkt. No. 134.
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                                                                                Dkt. No. 136.
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1                      definite award upon the subject matter submitted was not
                                                              2                      made.
                                                              3   (9 U.S.C. § 10(a)(4).) “Notice of a motion to vacate, modify, or correct an award
                                                              4   must be served upon the adverse party or his attorney within three months after the
                                                              5   award is filed or delivered. (9 U.S.C. § 12.)
                                                              6            The Ninth Circuit has “held that arbitrators ‘exceed their powers’ … not
                                                              7   when they merely interpret or apply the governing law incorrectly, but when the
                                                              8   award is ‘completely irrational,’ [citation], or exhibits a ‘manifest disregard of law,’
                                                              9   [citation].” (Kyocera Corp. v. Prudential-Bache Trade Services, Inc., 341 F. 3d
Ropers Majeski Kohn & Bentley




                                                             10   987, 997 (9th Cir. 2003).) An arbitration award is completely irrational “where the
                                                             11   arbitration decision fails to draw its essence from the agreement.” “An arbitration
                                A Professional Corporation




                                                             12   award draws its essence from the agreement if the award is derived from the
                                       Los Angeles




                                                             13   agreement, viewed in light of the agreement’s language and context, as well as
                                                             14   other indications of the parties intentions.” (Biller v. Toyota Motor Corp., 668 F.
                                                             15   3d 655, 665 (9th Cir. 2012) [citations and quotation marks omitted].) To vacate an
                                                             16   arbitration award on the ground of manifest disregard of the law, “[i]t must be clear
                                                             17   from the record that the arbitrators recognized the applicable law and then ignored
                                                             18   it.” (Id. [citations and quotation marks omitted].)
                                                             19            As justification for striking NBRA’s answer and rendering a default award
                                                             20   against it, the Arbitrator in connection with the present matter said that
                                                             21   “[California] Code of Civil Procedure Section 2023.030 authorizes a trial court to
                                                             22   impose monetary sanctions, issue sanctions, evidence sanctions, or terminating
                                                             23   sanctions against ‘anyone engaging in conduct that is a misuse of the discovery
                                                             24   process.’” (7/3/18 Arb. Order, p. 8:10-12 [citation omitted].)25 The Arbitrator
                                                             25   further asserted that:
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                                                                                Mahmoudian Decl. ¶ 12, Ex. C.
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                                                                                                                                       MOTION FOR ORDER VACATING
                                                                  4831-1106-1105.6                             - 11 -                         ARBITRATION AWARD
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                                                              1                      [California] Code of Civil Procedure section 1283.05(b)
                                                              2                      provides that arbitrators “have power, in addition to the
                                                              3                      power of determining the merits of the arbitration, to
                                                              4                      enforce the rights, remedies, procedures, duties, liabilities,
                                                              5                      and obligations of discovery by the imposition of the
                                                              6                      same terms, conditions, consequences, liabilities,
                                                              7                      sanctions, and penalties as can be or may be imposed in
                                                              8                      like circumstances in a civil action by a superior court of
                                                              9                      this state under the provisions of this code, except the
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                                                             10                      power to order the arrest or imprisonment of a person.”
                                                             11   (7/3/18 Arb. Order, n. 4, p. 8:22-25.)26 Based on such authorities, the Arbitrator
                                A Professional Corporation




                                                             12   concluded that he had the power to enforce discovery through sanctions including
                                       Los Angeles




                                                             13   by imposing a terminating sanction and rendering a judgment of default. (7/3/18
                                                             14   Arb. Order, p. 9:8-9.)27
                                                             15            The Arbitrator did not have such power. California Code of Civil Procedure
                                                             16   section 1283.05 relied on by the Arbitrator is part of the California Arbitration Act
                                                             17   (“CAA”). This matter, however, is governed by the FAA not the CAA.28 But even
                                                             18   if this matter were governed by the CAA, section 1283.05 relied on by the arbitrator
                                                             19   would not apply. Section 1283.1(a) of the CAA states that the provisions of section
                                                             20   1283.05 are automatically incorporated into agreements to arbitrate disputes
                                                             21   resulting from the injury or death of a person caused by the wrongful act or neglect
                                                             22   of another. The present matter, however, does not involve such a dispute. With
                                                             23   regard to all other types of disputes, section 1283.1(b) provides: “Only if the
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                                                                                Mahmoudian Decl. ¶ 12, Ex. C.
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                                                                                Mahmoudian Decl. ¶ 12, Ex. C.
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                                                                           See, e.g., the Court’s Order Granting Defendants’ Petition to Compel
                                                             27   Arbitration, which applied the FAA. (Dkt. No. 39, pp. 3-4.) Plaintiff also brought
                                                                  his motion to confirm the Arbitration Award pursuant to the FAA. (Dkt. No. 134.)
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1   parties by their agreement so provide, may the provisions of Section 1283.05 be
                                                              2   incorporated into, made a part of, or made applicable to, any other arbitration
                                                              3   agreement.” As can be seen from the arbitration agreement at issue here quoted
                                                              4   verbatim above, section 1283.05 was not incorporated into the arbitration
                                                              5   agreement. Thus, the Arbitrator had no power pursuant to section 1283.05 to
                                                              6   impose a terminating sanction as he claimed.29
                                                              7            In addition to erroneously finding authority to impose terminating sanctions
                                                              8   in CAA section 1283.05, the Arbitrator said:
                                                              9                      American Arbitration Association Rule R-58, applicable
Ropers Majeski Kohn & Bentley




                                                             10                      to this dispute in light of the parties’ arbitration agreement
                                                             11                      specifically referencing same, provides: “The arbitrator
                                A Professional Corporation




                                                             12                      may, upon a party’s request, order appropriate sanctions
                                       Los Angeles




                                                             13                      where a party fails to comply with these rules or an order
                                                             14                      of the arbitrator.”
                                                             15   (7/3/18 Arb. Order, p. 8:13-16.)30 The Arbitrator was correct in recognizing that
                                                             16   American Arbitration Association Rules apply. But he was incorrect in concluding
                                                             17   that these rules authorized him to enter a default award. The Arbitrator only quoted
                                                             18   one sentence from Rule 58. Rule 58 in its entirety is as follows:
                                                             19
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                                                                            In his discussion of an arbitrator’s power to impose discovery sanctions,
                                                             20   the Arbitrator cited two cases, Berglund v. Arthroscopic & Laser Surgery Center of
                                                                  San Diego, L.P., 44 Cal. 4th 528 (2008) and Alexander v. Blue Cross of California,
                                                             21   88 Cal. App. 4th 1082 (2001). The Berglund court said: “Discovery in arbitration
                                                                  is generally limited. [citing Alexander at p. 1088.] Sections 1283.1 and 1283.05,
                                                             22   however, grant arbitrators authority over discovery in certain arbitration
                                                                  proceedings. Section 1283.1’s subdivision (a) provides that section 1283.05 is
                                                             23   incorporated into and made a part of every agreement to arbitrate any dispute
                                                                  arising out of a claim for wrongful death or for personal injury.” (Berglund, 44
                                                             24   Cal. 4th at 534-535.) The Arbitrator did not cite this language from Berglund in
                                                                  asserting that he had the authority to impose terminating sanctions in the present,
                                                             25   non-personal injury case. He cited some other language from Berglund that did not
                                                                  make clear that section 1283.05 did not automatically apply (i.e., had to be
                                                             26   expressly incorporated into the arbitration agreement) if the claims subject to
                                                                  arbitration were not wrongful death or personal injury claims.
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                                                                                Mahmoudian Decl. ¶ 12, Ex. C.
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1                      (a) The arbitrator may, upon a party’s request, order
                                                              2                      appropriate sanctions where a party fails to comply with
                                                              3                      its obligations under these rules or with an order of the
                                                              4                      arbitrator. In the event that the arbitrator enters a sanction
                                                              5                      that limits any party’s participation in the arbitration or
                                                              6                      results in an adverse determination of an issue or issues,
                                                              7                      the arbitrator shall explain that order in writing and shall
                                                              8                      require the submission of evidence and legal argument
                                                              9                      prior to making of an award. The arbitrator may not
Ropers Majeski Kohn & Bentley




                                                             10                      enter a default award as a sanction.
                                                             11                      (b) The arbitrator must provide a party that is subject to a
                                A Professional Corporation




                                                             12                      sanction request with the opportunity to respond prior to
                                       Los Angeles




                                                             13                      making any determination regarding the sanctions
                                                             14                      application.
                                                             15   (American Arbitration Association (“AAA”) R-58 [emphasis added].)31 This needs
                                                             16   little explanation. The AAA Rules expressly state that “[t]he arbitrator may not
                                                             17   enter a default award as a sanction.”
                                                             18            To avoid the prohibition on default awards, Plaintiff contends that the parties
                                                             19   agreed to follow the rules of ADR Services rather than the AAA rules. Arbitration
                                                             20   Management Orders (“AMO”) issued by the Arbitrator do make reference to the
                                                             21   applicability of ADR Services rules in some circumstances. A December 23, 2015
                                                             22   AMO states, in pertinent part:
                                                             23                      The arbitration shall be conducted according to ADR
                                                             24                      Services’ Arbitration rules and the terms of the parties’
                                                             25                      arbitration agreement. All motions, including motions for
                                                             26                      summary judgment or summary adjudication, if filed,
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                                                                                Mahmoudian Decl. ¶ 17, Ex. E.
                                                             28
                                                                                                                                           MOTION FOR ORDER VACATING
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                                                              1                      shall be governed by the time and procedural
                                                              2                      requirements of the Code of Civil Procedure unless
                                                              3                      counsel stipulate otherwise….
                                                              4   (12/23/15 AMO, pp. 2-3 [emphasis added].)32 A January 21, 2016 AMO states:
                                                              5                      All motions, including motions for summary judgment or
                                                              6                      summary adjudication, if filed, shall be governed by the
                                                              7                      time and procedural requirements of the Code of Civil
                                                              8                      Procedure and the ADR Rules, unless counsel stipulate
                                                              9                      otherwise. Dispositive motions do not require leave of
Ropers Majeski Kohn & Bentley




                                                             10                      the arbitrator before being filed. All discovery and expert
                                                             11                      cut-off dates will be per Code.
                                A Professional Corporation




                                                             12   (1/21/16 AMO, p. 2 [emphasis added].)33
                                       Los Angeles




                                                             13            Taken together, these AMOs reflect that procedural matters would be
                                                             14   governed by ADR Services rules and the California Code of Civil Procedure but
                                                             15   that the terms of the parties’ arbitration agreement were applicable to non-
                                                             16   procedural matters.34 Recognizing that the parties’ arbitration agreement was
                                                             17   applicable despite the procedural rules makes sense because arbitration is a matter
                                                             18   of contract. (See, e.g., Zaborowski v. MHN Government Services, Inc., 936 F.
                                                             19   Supp. 2d 1145, 1151 (N.D. Cal. 2013) [it is a “fundamental principle that
                                                             20   arbitration is a matter of contract, and therefore the Court must place arbitration
                                                             21   agreements on an equal footing with other contracts and enforce them according to
                                                             22   their terms”] [internal quotation marks omitted] [citing AT & T Mobility LLC v.
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                                                                                Mahmoudian Decl. ¶ 18, Ex. F.
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                                                                                Mahmoudian Decl. ¶ 19, Ex. G.
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                                                                           The Arbitrator apparently wanted to use California and ADR Services
                                                             26   procedural rules because he is a former California Superior Court Judge who at the
                                                                  time of the submission of this matter to arbitration was associated with ADR
                                                             27   Services, although he has subsequently left ADR Services and is now associated
                                                                  with Benchmark Resolution Group. (Mahmoudian Decl. ¶ 4.)
                                                             28
                                                                                                                                          MOTION FOR ORDER VACATING
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                                                              1   Concepcion, ––– U.S. ––––, 131 S. Ct. 1740, 1745-466 (2011)].) Here, the
                                                              2   arbitration agreement between Plaintiff and NBRA expressly incorporated the AAA
                                                              3   rules, which the Arbitrator expressly acknowledged were applicable at the time that
                                                              4   he granted Plaintiff’s Motion for Terminating Sanctions.35 The AAA rules
                                                              5   expressly prohibit an arbitrator from entering a party’s default as a sanction. Thus,
                                                              6   the Arbitrator’s entry of NBRA’s default in the arbitration proceeding was in excess
                                                              7   of his powers derived from the parties’ arbitration agreement.
                                                              8            In addition to authorizing the District Court to vacate an arbitration where
                                                              9   arbitrators exceed their powers, section 10 of the FAA authorizes the Court to
Ropers Majeski Kohn & Bentley




                                                             10   vacate an award “where the arbitrators were guilty of misconduct … in refusing to
                                                             11   hear evidence pertinent and material to the controversy.” (9 U.S.C. § 10(a)(3).)
                                A Professional Corporation




                                                             12   Here, hand in glove with entering a default against NBRA in excess of his powers,
                                       Los Angeles




                                                             13   the Arbitrator refused to consider any evidence from NBRA before rendering his
                                                             14   default Award against NBRA, and even refused to allow NBRA to challenge the
                                                             15   submissions and argument made on behalf of Plaintiff at the default prove-up
                                                             16   hearing.
                                                             17   IV.      CONCLUSION
                                                             18            The Arbitration Award at issue here resulted from the Arbitrator imposing a
                                                             19   terminating sanction against NBRA, striking its answer, entering its default, and
                                                             20   denying it the opportunity to put on any evidence or to even cross-examine Plaintiff
                                                             21   or challenge in any way the submissions and argument made on behalf of Plaintiff
                                                             22   at the default prove-up hearing. The Arbitrator did not have the authority to impose
                                                             23   ///
                                                             24   ///
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                                                                           35
                                                                           In his order granting the Motion for Sanctions, the Arbitrator stated:
                                                             26   “American Arbitration Association Rule R-58 [is] applicable to this dispute in light
                                                                  of the parties’ arbitration agreement specifically referencing same….” (Order Re:
                                                             27   Claimant’s Motion for Terminating and Monetary Sanctions, p. 8:13-14,
                                                                  Mahmoudian Decl. ¶ 12, Ex. C.)
                                                             28
                                                                                                                                      MOTION FOR ORDER VACATING
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                                                              1   a terminating sanction against NBRA and to enter its default. Accordingly, the
                                                              2   Arbitration Award predicated on such grounds was made in excess of the
                                                              3   Arbitrator’s powers and should be vacated.
                                                              4
                                                              5   Dated: September 12, 2018         ROPERS, MAJESKI, KOHN & BENTLEY
                                                              6
                                                              7                                     By: /s/ Stephen J. Erigero
                                                                                                       STEPHEN J. ERIGERO
                                                              8                                        TAHEREH MAHMOUDIAN
                                                                                                       Attorneys for Defendants
                                                              9                                        NAPOLI BERN RIPKA & ASSOCIATES,
Ropers Majeski Kohn & Bentley




                                                                                                       LLP; NAPOLI BERN RIPKA SHKOLNIK
                                                             10                                        & ASSOCIATES, LLP; NAPOLI BERN
                                                                                                       RIPKA SHKOLNIK, LLP; NAPOLI
                                                             11                                        BERN RIPKA LLP; NAPOLI KAISER
                                A Professional Corporation




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                                                                                                                                 MOTION FOR ORDER VACATING
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